                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 VIKY SARAI FLORES BENITEZ,
 ANA DELMI BENITEZ ALVARADO,
 JAVIN BENIGNO SANTOS GALVEZ,
 and J.S.R., a minor,
                                                      Case No. 3:22-cv-00884 (JCH)
               Plaintiffs,

                        v.

 STEPHEN MILLER, JEFFERSON B.
 SESSIONS, KIRSTJEN NIELSEN, KEVIN
 McALEENAN, and UNITED STATES OF
 AMERICA,

              Defendants.



           RESPONSE TO DEFENDANTS’ NOTICE OF SUBSTITUTION

       Plaintiffs challenge Defendants’ Notice of Substitution in which Defendants seek to

substitute the United States of America for Stephen Miller, Jefferson B. Sessions, Kristjen

Nielsen, and Kevin McAleenan, (“Individual Defendants”). ECF No. 34. Plaintiffs contend that

the Individual Defendants should not be substituted pursuant to 28 U.S.C. § 2679(b) (the

“Westfall Act”). Unless the Court advises otherwise, Plaintiffs will brief this issue in their

forthcoming Opposition to Defendants’ Motion to Dismiss.




Dated November 8, 2022




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    /s/ Kirby Tyrrell
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 8, 2022, I electronically filed the forgoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day on all counsel of record or pro se parties, either via transmission of
Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.

Respectfully submitted,

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